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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CLAUDE BENCKENSTEIN,                             §
    Plaintiff,                                   §
                                                 §
v.                                               §    CIVIL ACTION NO. 4:17-cv-2940
                                                 §
CENTRAL MUTUAL INSURANCE                         §
COMPANY,                                         §
     Defendant.                                  §

                            MOTION TO COMPEL MEDIATION

       Defendant, Central Mutual Insurance Company (“Central”), hereby files its Motion to

Compel Mediation, and would show the Court as follows:

                                                 1.

       Plaintiff has sued Central for various violations of Section 541 of the Texas Insurance Code,

among other claims. In its Answer (Doc. No. 3), Central asserted the mandatory mediation

provisions of Section 541.161 of the Texas Insurance Code as an affirmative defense. Central now

requests the Court to order Plaintiff to participate in mediation, as required under Section 541.161

of the Texas Insurance Code.

                                                 2.

       All of the requirements of Section 541.161 of the Texas Insurance Code have been satisfied

in this matter. This Motion to Compel Mediation has been filed, as required by Section 541.161(a)

within 90 days from when Plaintiff’s Original Petition was served on Central, as Plaintiff’s Petition

was served on Central on September 7, 2017. See Doc. No. 1, p. 1. Further, Plaintiff’s Original

Petition seeks relief under various provisions of Chapter 541 of the Texas Insurance Code. See Doc.

No. 1-1, pp. 3-4. The amount in dispute between the parties is greater than the $15,000 minimum
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sum required for a mediation order. Tex.Ins.Code § 541.161(f); Plaintiff’s Original Petition (Doc.

No. 1-1), p. 2, ¶ 3 (“Plaintiff seeks monetary relief over $100,000 but not more than $200,000").

                                                    3.

        The Mediation Provision in the Texas Insurance Code states that “the court shall, not later

than the 30th day after the date a motion under this section is filed, sign an order setting the time and

place of the mediation.” Tex.Ins.Code § 541.161(b). The court shall appoint a mediator if the parties

do not agree on a mediator. Tex.Ins.Code § 541.161(c). The mediation must be held not later than

the 30th day after the date the order is signed, unless: (1) the parties agree otherwise; or (2) the court

determines that additional time not to exceed 30 days is warranted. Tex.Ins.Code § 541.161(d). Each

party who has appeared in the action shall (1) participate in the mediation; and (2) share the

mediation fee. Tex.Ins.Code § 541.161(e).

                                                    4.

        As all of the requirements for mediation under Insurance Code Section 541.161 are met, this

motion should be granted. Central asks the court to appoint a qualified mediator to hear this matter

and attempt to resolve the dispute between the parties.



        For all of the above reasons, Defendant, Central Mutual Insurance Company, prays that this

motion be granted, and the Court order the parties to participate in mediation pursuant to Section

541.161 of the Texas Insurance Code before a mediator to be chosen by the Court within thirty days

from the Court’s order, or within such additional time as may be granted by the Court, and for such

other and further relief to which Central may be entitled, at law or in equity.
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                                                       Respectfully submitted,


                                                       /S/Russell J. Bowman
                                                       Russell J. Bowman
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                                                       ATTORNEY FOR DEFENDANT
                                                       CENTRAL MUTUAL INS. CO.

                                CERTIFICATE OF CONFERENCE

        This is to certify that on December 6, 2017, I conferred by telephone with James Willis,
counsel for Plaintiff, regarding this motion. Mr. Willis advised he is not opposed to this motion, and
is not opposed to the proposed order being filed with this motion.

                                                       /S/Russell J. Bowman
                                                       Russell J. Bowman


                                   CERTIFICATE OF SERVICE

        This is to certify that on December 6, 2017, I electronically filed the foregoing document with
the clerk of court for the U. S. District Court, Southern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to
the following attorneys of record who have consented in writing to accept this Notice as service of
this document by electronic means: Richard D. Daly and James Willis, attorneys for Plaintiff.

                                                       /S/Russell J. Bowman
                                                       Russell J. Bowman
